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                       UNITED STATES COURT OF APPEALS
                                                                       FILED
                              FOR THE NINTH CIRCUIT
                                                                       APR 13 2020
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




    ESTATE OF FERAS MORAD; et al.,              No. 18-56586

                  Plaintiffs - Appellants,
                                                D.C. No. 2:16-cv-06785-MWF-AJW
      v.                                        U.S. District Court for Central
                                                California, Los Angeles
    CITY OF LONG BEACH; et al.,
                                                MANDATE
                  Defendants - Appellees.


           The judgment of this Court, entered March 20, 2020, takes effect this date.

           This constitutes the formal mandate of this Court issued pursuant to Rule

   41(a) of the Federal Rules of Appellate Procedure.

                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT

                                                  By: Nixon Antonio Callejas Morales
                                                  Deputy Clerk
                                                  Ninth Circuit Rule 27-7
